Case 2:11-cv-12422-AC-MKM ECF No. 129-24, PagelD.2188 Filed 07/28/14 Page 1of9

EXHIBIT 23
Case 2:11-cv-12422-AC-MKM ECF No. 129-24, PagelD.2189 Filed 07/28/14 Page 2 of 9

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Prease Direct CORRESPONDENCE & Payment HERE!

2400 Science Parkway, Suite 200 Ho E. Browaro BouLlevarp, Suite 1700
Onemos, MICHIGAN 46864 Fort LAuperRDALE, FLORIDA 3BA3ZO}
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LEONARDO A. SPECKIN
RETIREQ DOCUMENT ANALYST

Parricia J. Gieaink M.S.

MiIcHAEL J. SINKE
LATENT PRINT SPECIALIST Rocer J. Batnouse MBA FORENSIC CHEMIST
CRIME SCENE RECONSTRUCTION LABORATORY DIRECTOR
FORENSIC DOCUMENT ANALYST CRIME SCENE RECONSTRUCTION Laurence R. Stmson M.D.
FORENSIC ANALYST & CONSULTANT FORENSIC PATHOLOGIST
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ANALYTICAL CHEMIST
Larry A. DALMAN men
COMPUTER RECOVERY SPECIALIST ROBERT 8. Eitwa Coun V. SHELLHORN
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COMPUTER & GRAPHICS SPECIALIST
Georce F. Jackson Ph.D.
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SEROLOGIST

DNA ANALYST & CONSULTANT
CRIME SCENE RECONSTAUCTION

THIS IS NOT AN OFFICIAL REPORT, BUTIS A LETTER OF MY BASIC FINDINGS

August 26, 2011
Mr. Albert L. Holtz
Law Office of Albert L. Holtz, P.C.
3910 Telegraph Rd., Suite 200
Bloomfield Hills, Mi 48302

RE: Nationwide Life Insurance Company v William Keene, et al
U.S. District Court Case: 2:1 1-cv-12422-AC-MKM

Dear Mr. Holtz:

{ received your transmittal letter of 29 July 2011 and the accompanying documents: Exhibit B, Exhibit C
and the purported known writings/signaturés of Gary Harmon Lapiloft, Your transmittal letter request that
I conduct examinations and comparisons to determine if Exhibits B & C were written and signed by Gary

Harmon Lupiloff.

The examinations/comparisons | conducted between Exhibits B, C and the purported known writings/
signatures were conducted in compliance with the American Society of Testing Materials “Standard Guide
for Examination of Handwritten Items”, ASTM Designation E2290-07a. My examinations were limited
due to the quality of the machine copy documents submitted; submission of the original or first Beneration
copies would allow for more detailed examinations/comparisons and more definitive.results.

My examination findings, based on the documents submitted, are;

A.) Exhibit B, except the beneficiary name William Keene, was probably written and signed by
Gary Harmon Lupiloff.

B.) Exhibit C was probably not written or signed by Gary Harmon Lupiloff.

C.) The printed information in Exhibit C was likely written by the same person who printed the.
“Owner Witness” information.

D.) The beneficiary name William Keene in Exhibit B was likely written by the same person who
wrote the William Keene names and information in Exhibit C.

If you need additional you can contact me at 51 7-420-6766 or e-mail: rkullman@4N6.com

_ Very truly yours,

<b Vole —

Forensic Document Analyst

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Case 2:11-cv-12422-AC-MKM ECF No. 129-24, PagelD.2190 Filed 07/28/14 Page 3 of9

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129-24, PagelD 2191 Filed 07/28/14 Page 4of9

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APPLICATION FOR CHANGE OF BENEFICIARY DESIGNATION
Nabonwide Life Insurance Company/Nationwide Life and Annuity Insurance Company

Please see Paga 3 of this applicatio
Company, are heroin refared ia as

This desigasiian is for. ye Pomery/Base Insured
i Note: ifnone selected, this ange will be in effact for Prima:

The following pemon(s} who survive th

Full Nonie Relationship to Insurad = Full Address

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8 fd The Executors of Administratora of the Estate of the Insured. . Totat = 100%
Trust (Please inctude a copy of the pages from your bust that contain the following Infomation: the tite of the trust, date establishad.
trusteas’ names, und signatures).

Named Truste{s) Ar successar(s}.
TileName af Trust : Date of Trust:
0.0 Trustee(s),.or Sucoassor{s) in bust under tnsured’s Las! Wilt and Testaman
EC]  Othor (please apacify}: Name:

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then to: |
A be "The following Person(s) who survive the Insured, In equal shares or noted percentages:
Full Name Relationship to frsured | Full Address
. Ss nity ;
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v Keene.

B. The Executora or Administrators of the Estate of the Insured. Totel = 100%
Cc. Trust (Pleeee include p copy of the pages from your trust that comin the following information: the tlle of the Guat, data exablished,
tusieus’ names, and signatures).
Named Trumeat(a) : OF quCCESDOC(5),
TitesName of Truvt Dawe of Trust:

D.C) rrustee(s}, or sucoessof(s) in trust under Ingured’s Last Wit and Testament
E (7 Other (please specify); Name:
Address:

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12422-AC-MKM_ECF No. 129-24, PagelD.2192 Filed 07/28/14 Page 5 of 9
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APPLICATION FOR CHANGE OF BENEFICIARY DES}G
P NATION
Nationwide Life insuranca Gampany/Nationwide Life and Annuity Insurance Company

Rae a
Policy Number__¢ 03 8045 Primary Ingured: CRrcy bh hufelil Insured’ <x Ca
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mons on 3 af thia 2 CAUON, I aores that this ch ; aft
btenefictar YS effective tha date of this applicatic: a and thig applicetion wiff have no affect on any paymant mede or action taken by the Company

befora the Company hag agreed to this application.

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Owners

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Owner's Witness

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Joint QwnerOther cigned
and witnesssd in (cty/stals)

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Signature (if spplicanta)

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Wines Signature 7“

Joint Owner’s/Othar'a
Witness Printed Name

Dats Signed

Agresd {0 tor Nationwide Life Insurance CompanyiNationwvide Lite wnt Anny
Insurance Conigany by Thomas Barnet, Soortnry

08/2006

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APPUCATION FOR CHANGE OF BENEFICIARY DESIGNATION
Nationwide Life Inguranca Compeny/Natonwide Life and Annuity Insurance Company
Mail to: Nagonwide Lift Insurance Company, OQ. Box 182835, Columbus, Ohio 43218-2845

*  Doilac Amounts: Specific dollar amounts are generally not permitted. Instoad, please designamw a Percent in tha % column. Percentage totaly
must equal 100 perognt. you musi designate a specific dollar amount, please contect out Home Ctficn,

~  Fuseral Hoar ur Creditor: it You wish lo nana & funeral home or creditor, ploas6 use the “Other” fiold foc this designation. Pieesa use tho

complete the dem sted in parenthesis: “(Craditor Name or Funeral Home Name), as their interest méy appear, balance if

In addon, other policy changes my requira the frrevocable Donefinzary’s signature prior to the Company acoapting any raquostad ohange. if thk
banefidary is to fe ttoyocable, please add the following wording ofar the Person's name, “withoul right of ravocation during this beneficiary's

ifetinse or exigtence and no fongor_

Tema and Conditions

* Sending your palioy: Please do nol sand in Your policy with this roquast. The Company wawas any Pokey provicion requinng the rium ef the

Policy to the Company for gndorsamant
es 6Provfous boneficiary designations: Once the Company receives ond SOregx to this application, xi} previous baneficlary designations for thy

policy are revoked effactive the date of this 3pplication, (fa death caine becomes payable under thy Policy, ine procaeds shall be Poyxbls to the
beneficiary(lee) named Ia this applicaton attar the Application has been Accepted by the Company.

° = Unteas otherwise provided for on this application: /
oH two of more Ganeficisnes or Contingent Bansficiaries are designated, the proceads shall be pesyable in equal shares to thasd Benoficianos

Oc Contingent Banaticiares wo survive tha insured.

If twa or mors Seneticiariaa or Continpeht Genaficiares aro depignated to mcuive th

Beneficiaries or Contingent Senehciarias prodecenan tho Inoured, the procegda dasignoted for such docaased Baneficiertas or Cantingent

Boneficiases shall instead bo paid in aqual shares ta those Gensfics

o Children include naturally bom end apaity adopted chitdren of tire Inaured,

9 Any amounts payable to a child of tess then legal age shall be paid tw tha tegahy appointed guardian of hiwhor Property orn any other monner

3pproved by the laws of the state where Ppaymont fu mada.
+ Benciciones cot spacified by name: If bonofclary(ies) ore not specified by qame (Le. at children Erving), the Company is authorized to tety an
an affidavit from any denefictary listed an this foo or from any responsible pean m determining the names of the benaficiacias at time of ctarm.

The Company fs discharged from all ability upon mating suttamant based on auch amdavit.

= Required Addresses: [f you fue int one of the fallowing states - AK, AZ, Ft, Hl, JO, LA, NO. OR. RI, UT. vA. WA or Wi, a full uddreca {or ail
bensfiotories destgnatad ls required. .

* Required Signatures: This quest must be signed and dutad by aX pemons who have ownership or othar rights in the poScy (ali co-ounon, joint

Owner, Cotmuateds, previously named iravocabie bencfictanes,
9 ifs corporation owns the policy. we requira the signaturo of

the Incured unless the Insured ic the rolg comorate offfcar.-
o In states that require a witnaes, an unintereated pany should sign ay the withers (someona not named as 4 benefidary or otherwise signing

this form). :
* Owners’ rightr:: The GWnet(s) reserve Ue Hight lo change tha benofidary untess athenvize provided for on this sppiicaton (Le. irravocable
benoficiary(let}).
* Wa TrusvTrostea(s} fs named a banefictary on thir polley:
o The Company & nol responsible for the applicston or disposition of the proceeda af the paticy by the Trustes(s). Payment (o the Trusten(a)
shail fury dischorge tho ilability of the Gompany under tho policy. .
o If tie beneficlary is a lostanrentury gust, the Company iz authorized to raty on 6 cestified copy of the qualificston and appointment of ine

trustee of ths profating of the will If the baneficiary is an intor viva or fving trust the Company is autnonzed to rely Upon » xtstament fram

ihe trustees that the lost is active.
© TL within six months after tne death of the insured, tte Company bs not bean fumished with evidence of the probating of the WHI and tne

quatltcstion of the buutes (if # testumemary trust), of, with evidence that te trust is active and in full foroo and effet (f an inter vivos or living
Tust), the proceeds may than be paid to the cantin

beneficiaries, tha proceed: may then be pad
3 Por policies in which the Inturad’s Estate ar the Executor or Adminigirstor of the

« Exacutors, Adminiswetors or Estates us bonefictaries:
insureds Estate ic ihe Denoficiary, the Company © authorized to rely ugon 3 canified copy of the qualification and eppoltimant of the Exeoutor or
Admuntetator of the tnsured’s Estate, Payment of the policy's proceads to the Excoutor oc Admintstrater shal fully discharge (he fabitty of the

Company under the policy,
Any referanos ia this Appifcution ta 9 bentficiary tiving or surviving wit mean Bving of survtving at the time of the Insut6d's dogth.

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Case 2:11-cv-12422-AC-MKM ECF No. 129-24, PagelD.2194 Filed 07/28/14 Page 7 of 9

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NATIONWIDE LIFE INSURANCE COMPANY
APPLICATION FOR DESIGNATION OF OWNER ANDOR CONTINCENT OWNER

Policy Number:__ 2.034 80Y 3a trewreds___ 74 Lk Lp arse

t. the prescat owner of the above numbered policy, hereby revoke any previous desienation of Qwner and/or Contingeat Owner, and’!

hereby designate as the Owner and/o

r Contingent Owner of the said policy effective this date in accordance with the policy provisions,

the following;

If more than ono owaer, ownership will be vested
contingent owner(s), if any, jolotty or in the sarviv
owoer.

NEW OWNER: Social Security or Taxpaycr Identification Number: Qe pee

Jointly or in the survivar(s}, but i€ nore aye living or in existemce, then ia the
or(x), otberwise to the Executor or Adtalnistrator of the Estxte of the last sald

FULL AME DATE OF BIRTH RELATIONSHIP TO INSURED
lal ierg kero at. CH flexes Keren dekag>

DS Fle
ADDHESS
NEW CONTINGENT OWNER: Social Security or Taxpayer Identification Nemnber: _- -
FULL NAME DATE OF BIRTH RELATIONSHIP TO INSURED
ADDRESS

Premium ‘Notices Shall bo sent tg the new owner for the above mentlonad Policy,

QO Premium Payar to be

-Flunderstand thar thi¢ change at ownership docy not in any way affie, the
- desigoutcs n change of Owner and if the Owner's Bcoofit(s) i Inchided in said palicy,
BeneGit(s) & herby teeminated. and in consideration thereal the praminm shall be redu

POLICY MODIFICATION: Any provision of the policy stipulating that the policy
effect a change of Ownership is berchy waived by uie Company and the Owner, and lt
application, subject to any payment made or action lakea by the Compuny batore this,

this box J J if the internal Revenue Service hus notified you that we

Signed at

New Owner's § ignature

satess chocked and completed below:

Address of Payor

Print full address of Payor
Benaficiary designations of the policy. to cut ovent thia spptteatian
I hereby surrender such Benefit(s) and acknowledge thax such
ced and unearned premium, if any, adjusted offvative this date,
shalt Le retumed fo the Company for andomement in orderto
4 agreed thal such change shall inke effect 25 of the date of this
Spplication has becn agreed to by lha Company,

Prine full namc of Payor

up withholding (and is not the same ag the
) It ty not an addidonal tax, since the tax liability of persons subject to backup
withholding results in an overpayment of toxes, x reflind muy be obtained. Check
are got subject to the provisions of thix lnw. Othorwire, your elgnaturc on this
taxpayer identification number on this application is te. carrect. and compkte.

application scrves ax certification under penaltics of perjury. duat the
VE afnutermier mH, this day of__Cdeored! » ZEIT
o 0 :
>

Preseat Ownor’s Signature

HOME OFFICE USE ONLY

Agreed to for Nationwide Life lasurance Company

Life-{112-M

Complete and scnd to Company at Columbus, Ohio 43215

BO NOT SEND POLICY (03/2007)

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NATIONWIDE LIFE INSURANCE COMPANY
APPLICATION FOR DESIGNATION OF OWNER AND/OR CONTINGENT
OWNER

A
these festructions carefully before completing the application.

1. Use this form to request 3 change of policy ownership, IH the desired change of Ownership is
complex, ar if you have any questions, please contact Nationwide Life Insurance Company at the

Home Office.

2. This application revokes ALL previous ownership. Therefore, even if the present owner or
contingent owner is to remain the same, such owner roust be repamed on this form.

address. THE REQUESTED CHANGE OF OWNERSHIP WILL NOT BE PROCESSED (F
ANY OF THE INFORMATION IS OMITTED.

Office, a witness may be required.
3. The new owner will receive the premium notices uoless the payor information jg completed.

6. 1 joint Ownership is listed, alt notices will be mailed to one address listed on the reverse side. For

security number is to be used. The Signatures of a}! Jomt owners will be required for any policy
changes requiring an application. If any of the joint owners is a minor, the minor’s legal
representative will be required to authorize chanses for him/her.

8. If naming a corporation as the NGW aw,
Corporation. We require the Signatures of the present policy owner and an authorized officer

“(with current job title), other than the msured, to sign as the new Owner on behalf of the

?. Complete and seid to Nationwide Life Insurance Company, PO Box 182835, Columbus, Ohio
432182835,

Life-US12-M (0372002)

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